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                    1   COOLEY LLP
                        BRETT H. DE JARNETTE (292919)
                    2   (bdejarnette@cooley.com)
                        ALEXANDER K. BREHNAN (317776)
                    3   (abrehnan@cooley.com)
                        TAYLOR BOYLE (353178)
                    4   (TBoyle@cooley.com)
                        3175 Hanover Street
                    5   Palo Alto, CA 94304-1130
                        Telephone: +1 650 843 5000
                    6   Facsimile: +1 650 849 7400
                    7   JOHN H. HEMANN (165823)
                        (jhemann@cooley.com)
                    8   3 Embarcadero Center, 20th Floor
                        San Francisco, CA 94111-4004
                    9   Telephone: +1 415 693 2000
                        Facsimile: +1 415 693 2222
                   10
                        Ashley Gorski (pro hac vice)
                   11   (agorski@aclu.org)
                        American Civil Liberties Union Foundation
                   12   125 Broad Street, Floor 18
                        New York, NY 10004
                   13   Telephone: +1 212 549 2500
                   14   Counsel for Plaintiffs
                        (See additional counsel listed below)
                   15
                                            UNITED STATES DISTRICT COURT
                   16
                                           CENTRAL DISTRICT OF CALIFORNIA
                   17
                   18   ABDIRAHMAN ADEN KARIYE,                     Case No. 2:22-cv-01916-FWS-GJS
                        MOHAMAD MOUSLLI, and
                   19   HAMEEM SHAH,                                PLAINTIFFS’ REPLY IN SUPPORT OF
                                                                    MOTION TO COMPEL PRODUCTION
                   20                   Plaintiffs,                 OF DOCUMENTS

                   21         v.                                    Judge: Hon. Gail J. Standish
                                                                    Trial Date: November 3, 2026
                   22   KRISTI NOEM, Secretary of the U.S.          Date Action Filed: March 24, 2022
                        Department of Homeland Security, in
                   23   her official capacity, et al.,
                   24                   Defendants.
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   PALO ALTO                                                                         PRODUCTION OF DOCUMENTS;
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                   1            Plaintiffs seek documents and information that are indisputably relevant to
                   2   their claims and proportional to the needs of this case. Defendants’ attempts to paper
                   3   over the relevance of Plaintiffs’ discovery requests and repeated complaints about
                   4   the everyday burdens of discovery all fail. The Court should order Defendants to
                   5   produce the documents and information at issue.1
                   6       I.   The Court should order Defendants to meet with Plaintiffs’ e-discovery
                                experts to render the TECS database text-searchable.
                   7
                   8            The TECS database, containing Defendants’ own reports of secondary
                   9   inspections, is a critical repository of documents relevant to Plaintiffs’ claims.
               10      Defendants, though, argue that TECS only “might” have relevant information. Opp.
               11      4, ECF No. 134. But that is belied by common sense and the TECS reports
               12      themselves. In particular, the TECS Reports about Plaintiffs make clear that border
               13      officers elicit information on religious topics and retain that information in TECS.
               14      See, e.g., TECS Report, ECF No. 133-5 (noting that Plaintiff “claimed he’s a
               15      devote[d] Sunni Muslim” and discussing a religious association). Although Plaintiffs
               16      request that Defendants keyword-search the TECS database for reports of relevant,
               17      similar incidents involving other travelers, Defendants claim that production of those
               18      travelers’ complaints about this questioning is sufficient. Cf. Opp. 6–7. But that is
               19      not an adequate substitute. Only a narrow subset of individuals subjected to religious
               20      questioning will make the effort—and risk retaliation—to file formal complaints with
               21      Defendants, and these complaints are not Defendants’ official version of events.
               22               Now, for the first time, Defendants say that they “could” render TECS free-
               23      text fields text-searchable, but that running keyword searches directly within the
               24      database “would necessitate a full database scan for each query,” and that this would
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                       1
                         Plaintiffs agree that the parties continue to engage in constructive dialogue on
               26      discovery. Plaintiffs moved to compel only on issues for which Defendants provided
               27      their final position or were unable to confirm document preservation. Plaintiffs
                       appreciate Defendants’ new representations that they are preserving DHS CRCL
               28      documents, and respectfully request production from CRCL in 45 days.
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                   1   degrade system performance. Holtzer Decl. ¶¶ 16–17, ECF No. 133-4. But this is a
                   2   red herring, because Plaintiffs do not seek to run that type of query. Instead, following
                   3   standard e-discovery practices, Defendants can mirror the database and render it
                   4   keyword-searchable on the backend, see Valentine Decl., ECF No. 120-2 ¶ 7, which
                   5   would not require “a full database scan for each query.” Holtzer Decl. ¶ 17. Indeed,
                   6   “Courts have long recognized that defendants may be required under the Federal
                   7   Rules to create computer programs to search an existing database for relevant
                   8   information.” Meredith v. United Collection Bureau, Inc., 319 F.R.D. 240, 243 (N.D.
                   9   Ohio 2017) (collecting cases); see also Elliot v. Humana, Inc., 2024 WL 4468654, at
               10      *6 (W.D. Ky. Oct. 10, 2024) (“[C]ourts have held that parties could be ordered to
               11      search existing databases previously asserted to be unsearchable, or to design
               12      software to do so.” (collecting additional cases)); Mervyn v. Atlas Van Lines, Inc.,
               13      2015 WL 12826474, at *6 (N.D. Ill. Oct. 23, 2015) (ordering a defendant to create
               14      “new code” to search a database). The Holtzer Declaration fails to address Plaintiffs’
               15      proposal, and its bald claim of “undue burden” in terms of “resources, labor costs and
               16      licensing and utilization fees” is unsupported by any specifics. Holtzer Decl. ¶ 17.2
               17            Defendants also object to even a good-faith discussion with Plaintiffs’ e-
               18      discovery experts about such methods. Opp. 5 & n.2. They argue that the information
               19      related to the TECS database is itself law-enforcement privileged and making details
               20      available would risk unauthorized disclosures. Opp. 5. But even assuming that the
               21      privilege applies, contra Mot., ECF No. 118-1, the parties’ Protective Order
               22      addresses any such risk. Defendants provide no reason (and there is none) to suspect
               23      that unauthorized disclosure would occur, and Plaintiffs are willing to take additional
               24      precautions, such as sharing pre-prepared initial questions, or agreeing to an
               25      attorneys’-eyes-only Protective Order. Defendants fail to explain why these
               26
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               27        Paramount Pictures Corp. v. Replay TV, 2002 WL 32151632 (C.D. Cal. 2002), is
                       inapposite. Paramount says only that a party need not create responsive information.
               28      Id. at *2. Here, Plaintiffs only seek relevant information that already exists.
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                   1   safeguards would not be sufficient. Opp. 5 n.2.
                   2   II.   Defendants must supplement their response to ROG 7.
                   3         Defendants contend that supervisors’ identities are irrelevant, and need not be
                   4   included in their ROG 7 response, unless they personally questioned Plaintiffs. Opp.
                   5   8-9. Defendants are wrong. Supervisors may encourage, endorse, denounce, or be
                   6   indifferent to religious questioning, all of which goes to the existence of Defendants’
                   7   policy and/or practice. To be clear, Plaintiffs are not requesting the identities of
                   8   “everyone in the supervisory chain” of the CBP officers that questioned Plaintiffs.
                   9   Opp. 9. Rather, Plaintiffs seek only the identities of direct supervisors of officers
               10      present at the questioning of Plaintiffs, and any other supervisors involved in the
               11      incidents (including those notified of the incidents), who are undoubtedly relevant as
               12      potential custodians or deponents.
               13            Defendants also argue that they have already produced documents identifying
               14      those who supervised the incidents of religious questioning. Opp. 8. Not so. For three
               15      of the ten incidents, Defendants have failed to produce the type of TECS Report that
               16      lists direct supervisors—or any other document identifying these direct supervisors.
               17      Mot. 9, ECF No. 120. Defendants further assert that “[t]he produced TECS records
               18      already contain the names of all CBP officers who were present for the inspections
               19      or who were contacted regarding the inspection.” Opp. 8 (citing Holtzer Decl. ¶ 7).
               20      But that significantly overstates the Holtzer Declaration’s far more modest claim:
               21      “The TECS records produced to Plaintiffs would have listed the CBP officers
               22      involved in the secondary inspections.” Holtzer Decl. ¶ 7. The Holtzer Declaration
               23      conveniently ignores the three missing TECS Reports, and whether Defendants have
               24      in fact produced records reflecting all officers “contacted” regarding each of the ten
               25      inspections. Opp. 8.
               26            The case relied upon by Defendants, Civil Rights Department v. Grimmway
               27      Enterprises, Inc., 2025 WL 621594 (E.D. Cal. Feb. 26, 2025), only reinforces
               28      Plaintiffs’ position. There, the Court allowed plaintiff to point to documents in its
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                   1   interrogatory response because (1) the documents had been produced and (2) they
                   2   “contain[ed] a complete answer to” the interrogatory.” Id. at *8. But here, Defendants
                   3   have failed to produce the type of TECS Report that lists the direct supervisor for
                   4   30% of the incidents, and there is no indication that the produced TECS Reports
                   5   contain a complete list of notified officers. See TECS Records, ECF Nos. 119-3, 119-
                   6   7, 119-8, 130-1 (no field requiring a list of all individuals involved in questioning).
                   7   III.   Defendants must search for information on work phones predating May
                              2023.
                   8
                   9          Defendants argue that data from work devices prior to May 2023 is unlikely to
               10      be relevant. Opp. 10. But that is absurd. Each of Plaintiffs’ incidents occurred prior
               11      to May 2023, and communications contemporaneous with these incidents are highly
               12      probative. Even if only supervisors were issued work phones, Opp. 10, the produced
               13      TECS Reports confirm that the communications of supervisors—directly involved in
               14      some incidents—are equally probative. See, e.g., Mot. 9; TECS Report, ECF No.
               15      133-5 (supervisory CBP officer (“SCBPO”) was “notified” about the incident).
               16             Defendants’ other primary contention is that the search of phone data before
               17      May 2023 would be unduly burdensome, due to manual review. Opp. 11. But because
               18      only a limited number of supervisors were involved in the ten incidents, identifying
               19      the locations of relevant phones should not be burdensome. Once the phones are
               20      located, Defendants could take the customary step of engaging a vendor to upload
               21      the data to an electronic search database. See, e.g., Sicklick v. DirecTV Welfare
               22      Benefit Plan, 2015 WL 13916209, at *5 (C.D. Cal. Jan. 22, 2015).3
               23             Finally, Defendants’ contention that the parties’ anticipated ESI searches of
               24      other sources militate against searching of work phones, Opp. 13, makes no sense.
               25
               26      3
                         Plaintiffs here are not requiring that Defendants conduct a manual review, as
               27      plaintiff did in Nece v. Quicken Loans, Inc., 2018 WL 1072052, at *2 (M.D. Fla. Feb.
                       27, 2018). Opp. 12. Defendants may elect to proceed with an e-discovery vendor, as
               28      is routine in litigation, or choose to conduct manual review at their discretion.
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                   1   Those ESI searches will not capture the contemporaneous text communications made
                   2   on Defendants’ officers’ phones. See Sage Products, LLC v. Chemrite Copac, Inc.,
                   3   2021 WL 5299789, at *4 (N.D. Ill. Nov. 12, 2021) (“[A]ny argument that the text
                   4   messages may be cumulative to emails already produced is purely speculative, as
                   5   [plaintiff] does not know what is in the unproduced text messages.”). There is no ESI
                   6   “alternative” to contemporaneous text communications concerning the incidents.4
                   7   IV.   Defendants must produce complaints, performance reviews, and
                             commendations for the officers.
                   8
                   9         Defendants claim, incorrectly, that “Plaintiffs’ request for complaints [about
               10      the officers] . . . is complete.” Opp. 13. But Defendants have refused to search three
               11      key sources for complaints about the officers. See Mot. 13 & n.16. Instead,
               12      Defendants said they would search these repositories for only complaints of religious
               13      questioning, Opp. 14, which is insufficient to respond to RFPs 16 and 17. Defendants
               14      also dispute the relevance of positive performance reviews, arguing that the reviews
               15      would not reference questioning. Opp. 15. But positive reviews or commendations
               16      of officers who engaged in discriminatory religious questioning, show that instead of
               17      investigating that questioning, Defendants are indifferent to, or even commend, the
               18      practice. Finally, Defendants’ burden arguments ring hollow. See Opp. 14–15.
               19      Plaintiffs do not seek employment records generally; rather, they seek complaints,
               20      disciplinary actions, performance reviews, and commendations. Any burden placed
               21      on Defendants due to manual review for records, id. at 15, is limited by the narrow
               22      set of documents at issue and the small number of officers who will be performing
               23      such a search. Indeed, “detracting from the overall mission,” Opp. 15, is
               24      characteristic of litigation and not an undue, or unusual, burden.
               25      V.    Conclusion
               26            Plaintiffs respectfully request that the Court grant their Motion to Compel.
               27
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                        The three-factor test in LaRouche v. National Broadcasting Co., Inc., 780 F.2d
               28      1134, 1139 (4th Cir. 1986), Opp. 13, strongly weighs in favor of production here.
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                   1   Dated:      June 9, 2025                  COOLEY LLP
                                                                 JOHN HEMANN (165823)
                   2                                             BRETT H. DE JARNETTE (292919)
                                                                 ALEXANDER K. BREHNAN (317776)
                   3                                             TAYLOR BOYLE (353178)
                   4
                   5                                             By: /s/ Alexander K. Brehnan
                                                                    Alexander K. Brehnan
                   6
                                                                 Ashley Gorski (pro hac vice)
                   7                                             (agorski@aclu.org)
                                                                 ACLU Foundation
                   8                                             125 Broad Street, Floor 18
                                                                 New York, NY 10004
                   9                                             Telephone: +1 212 549 2500
               10                                                Mohammad Tajsar (SBN 280152)
                                                                 (mtajsar@aclusocal.org)
               11                                                ACLU Foundation of Southern
                                                                 California
               12                                                1313 West 8th Street
                                                                 Los Angeles, CA 90017
               13                                                Telephone: +1 213 977 9500
               14                                                Daniel Mach (pro hac vice)
                                                                 (dmach@aclu.org)
               15                                                Heather L. Weaver (SBN 226853)
                                                                 (hweaver@aclu.org)
               16                                                ACLU Foundation
                                                                 915 15th St., NW Ste. 600
               17                                                Washington, DC 20005
                                                                 Telephone: +1 202 675 2330
               18
                                                                 Teresa Nelson (pro hac vice)
               19                                                tnelson@aclu-mn.org
                                                                 ACLU of Minnesota
               20                                                P.O. Box 14720
                                                                 Minneapolis, MN 55415
               21                                                Telephone: +1 651 645 4097
               22                                                Attorneys for Plaintiffs
                                                                 ABDIRAHMAN ADEN KARIYE,
               23                                                MOHAMAD MOUSLLI, and
                                                                 HAMEEM SHAH
               24
                       319984002
               25
               26
               27
               28
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